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                                                                July 21, 2023
  By ECF

  The Honorable Taryn A. Merkl,
      United States Magistrate Judge,
          U.S. District Court for the Eastern District of New York,
              225 Cadman Plaza East,
                   Brooklyn, New York 11201.

         Re:      Bartlett v. Société Générale de Banque au Liban SAL, No. 19-cv-0007-CBA-TAM

  Dear Judge Merkl:

                   I write on behalf of non-party Standard Chartered Bank (“SCB”) in connection with
  Plaintiffs’ letter filed earlier today seeking to modify the fundamental use restrictions contained in
  the June 8, 2022 Joint Stipulation and Protective Order that the Court issued in this case, and
  pursuant to which SCB produced certain documents in response to a subpoena. (See Docket
  No. 273.) Plaintiffs’ letter was not shared with counsel for SCB in advance of its filing, and SCB
  respectfully requests the opportunity to respond by no later than Friday, July 28, 2023.

                                                                Respectfully,

                                                                 /s/ Andrew J. Finn
                                                                Andrew J. Finn

  cc:    All counsel of record (via ECF)
